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                      Exhibit B

                  Search Warrants
                      Case 1:19-cr-00254-ALC Document 93-2 Filed 10/14/21 Page 2 of 5




             UNITED STATES DISTRICT COURT
             SOUTHERN DISTRICT              OF NEW YORK
             -----------------------------------------------------------------1
                                                                            ''
                                                                             '
                                                                             ''
              UNITED STATES OF AMERICA                                       :
                                                                             '

                        -v.-

               HSBC Securities USA account HMB861668,
               held by Reginald D. Fowler,

                                           Defendants-in-rem.
                                                                             '
                                                                             '
             ·-----------------------------------------------------------------'
==========================================---"!

                                                  WARRANT OF SEIZURE
                                             PURSUANT TO 18 U.S.C. §§ 981 and 984

                      TO:      ANY DESIGNATED OFFICER OF THE FEDERAL BUREAU OF
                               INVESTIGATION AND/OR ANY LAW ENFORCEMENT OFFICER
                               AUTHORIZED BYLAW

                      An Affidavit having been made before me by TODD P. MCGEE, a Special Agent with

             the Federal Bureau oflnvestigation, that he has reason to believe that the above-captioned funds

             are subject to seizure and civil forfeiture pursuant to 18 U.S.C. §§ 98l(a)(l)(A) and

             981(a)(l)(C), and as I am satisfied that there is probable cause to believe that the property so

             described is subject to seizure and civil forfeiture pursuant to 18 U.S.C. §§ 98l(a)(l)(A) and

             981(a)(l)(C);

                      YOU ARE HEREBY COMMANDED AND AUTHORIZED to seize, within fourteen

             (14) days of the date of issuance of this warrant, by serving a copy of this warrant of seizure

             upon any person presently in possession of the property described as follows:

                                a.       All monies and funds contained in HSBC Securities USA account

             HMB861668, held by Reginald D. Fowler, and all funds traceable thereto, including accrued

                                                                         1



                                                  Ex. B, Search Warrants, p.1                   USAO-0002029
            Case 1:19-cr-00254-ALC Document 93-2 Filed 10/14/21 Page 3 of 5




interest.

         YOU ARE FURTHER COMMANDED AND AUTHORIZED to prepare a written

inventory of the property seized and promptly return this warrant and inventory before this Court

as required by law.

         IT IS FURTHER ORDERED THAT the above-listed account shall be frozen upon

service of this warrant, in order to prevent the above-captioned funds from being transferred,

withdrawn, or removed therefrom.

Dated:           New York, New York
                 October 23, 2018


                                                     ~~.FrP~
                                             HONORABLE KA\l;HARINE B.PARKER
                                             UNITED STATES '},/1AGISTRATEWDGE
                                             SOUTHERN DISfPiCt QF NEW YORK




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                              Ex. B, Search Warrants, p.2                        USAO-0002030
         Case 1:19-cr-00254-ALC Document 93-2 Filed 10/14/21 Page 4 of 5




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------'
                                                                  ''
                                                                   ''
                                                                    '
  UNITED STATES OF AMERICA                                     ·,''

           -v.-                                                   :1
                                                                  '




  HSBC Bank USA account 141000147, held by
                                                                                        0
  Global Trading Solutions LLC; and

  HSBC Bank USA account 697825922, held by
  Reginald D. Fowler,

                               ~eiia.ants-m-rem.




                                     WARRANT OF SEIZURE
                                PURSUANT TO 18 U.S.C. §§ 981 and 984

         TO:      ANY DESIGNATED OFFICER OF THE FEDERAL BUREAU OF
                  INVESTIGATION AND/OR ANY LAW ENFORCEMENT OFFICER
                  AUTHORIZED BYLAW

        An Affidavit having been made before me by TODD P. MCGEE, a Special Agent with

the Federal Bureau oflnvestigation, that he has reason to believe that the above-captioned funds

are subject to seizure and civil forfeitm:e pursuant to 18 U.S.C. §§ 98l(a)(l)(A) and

98l(a)(l)(C), and as lam satisfied that there is probable cause to believe that the property so

described is subject to seizure and civil forfeiture pursuant to 18 ,U.S.C. §§ 98l(a)(l)(A) and

981(a)(l)(C);

        YOU ARE HEREBY COMMANDED AND AUTHORIZED to seize, within fourteen

(14) days of the date of issuance of this warrant, by serving a copy of this warrant of seizure

upon any person presently in possession of the property described as follows:



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                                     Ex. B, Search Warrants, p.3                   USAO-0002031
         Case 1:19-cr-00254-ALC Document 93-2 Filed 10/14/21 Page 5 of 5




                a.      All monies and funds contained in HSBC Bank USA account 141000147,

held by Global Trading Solutions LLC, and all funds traceable thereto, including accrued

interest; and

                b.      All monies and funds contained in HSBC Bank USA account 697825922,

held by Reginald D. Fowler, and all funds traceable thereto, including accrued interest.

         YOU ARE FURTHER COMMANDED AND AUTHORIZED to prepare a written

inventmy of the property seized and promptly return this warrant and inventory before this Court

as required by law ..

         IT IS FURTHER ORDERED THAT the above-listed account shaHbe frozen upon

service of this warrant, in order to prevent the above-captioned funds from being transferred,

withdrawn, or removed therefrom.

Dated:          New York, New York
                October 23, 2018
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                                             HONORABLEI(ATf[ARINE I;I. PAK1ZER
                                             UNITED STATES MAGISTRATE JUDGE
                                             SOUTHERN DISTFJCJ OF NEW YORK  l         I\




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                              Ex. B, Search Warrants, p.4                                          USAO-0002032
